
Saturday, January 27th, 1816.
JUDGE ROANE
pronounced the court’s opinion, with an observation of his own subjoined, as follows:—
*“The court is of opinion, that although interest ought not to be given, as of course, in actions for the recovery of rent in arrear, it may nevertheless be given under circumstances to be judged of by the jury ; and that, in case of a general verdict allowing interest, it shall be intended that sufficient circumstances existed to justify the allowance thereof. — The court is further of opinion that the circumstances stated to the court in this case by the jury are not sufficient to justify the verdict, so far as it allows interest; and that, therefore, the appellee should only recover the principal sum found by the jury. The Judgment is therefore to be reversed, and entered for the principal sum. I will take the liberty to add, (speaking for myself only,) that, while I concur in the above judgment in every other point, I doubt, as at present advised, whether the sufficiency of these circumstances, to justify a refusal of the interest, ought not to be left to the jury in exclusion of the power of the court, under the spirit of the decision of this court in the case of M’Call v. Turner. ” (a)

 1 Call 133.

